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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     UNITED STATES OF AMERICA,                        )
 7                                                    )
                               Plaintiff,             )     Case No. MJ09-354
 8                                                    )
           v.                                         )
 9                                                    )     DETENTION ORDER
     HECTOR LEMOS MENDOZA ,                           )
10                                                    )
                               Defendant.             )
11                                                    )

12 Offense charged:

13         Conspiracy to Distribute Cocaine.

14         Attempted Possession of Cocaine with Intent to Distribute.

15 Date of Detention Hearing: July 15, 2009.

16         The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds that

18 no condition or combination of conditions which the defendant can meet will reasonably assure the

19 appearance of the defendant as required and the safety of any other person and the community.

20              FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21         Mr. Mendoza was arrested in an undercover drug operation and the evidence against him is

22 very strong. If convicted as charged, he faces a minimum sentence of 10 years of prison.

23 Defendant has nearly thirty contacts with law enforcement going back over 15 years. Some of the


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 1 convictions are for drug crimes. Defendant is unemployed. He has failed to appear for several past

 2 matters. This year, a warrant for his arrest was issued for failing to appear for a court hearing.

 3         It is therefore ORDERED:

 4         (1)     Defendant shall be detained pending trial and committed to the custody of the

 5 Attorney General for confinement in a correctional facility separate, to the extent practicable, from

 6 persons awaiting or serving sentences, or being held in custody pending appeal;

 7         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 8 counsel;

 9         (3)     On order of a court of the United States or on request of an attorney for the

10 Government, the person in charge of the correctional facility in which Defendant is confined shall

11 deliver the defendant to a United States Marshal for the purpose of an appearance in connection

12 with a court proceeding; and

13         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

14 for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

15         DATED this 15th day of July, 2009.

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17                                                        A
                                                          BRIAN A. TSUCHIDA
18                                                        United States Magistrate Judge

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     DETENTION ORDER -2
